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                           UNITED STATES DISTRICT COURT                            PE. ER       JR.,CLERK
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                        EASTERN DISTRICT OF NORTH CAROLINA                        BY                 OEPCLK

                                 WESTERN DIVISION

                              NO.:   6:24-Cr<-203-3O
UNITED STATES OF AMERICA                    )
                                            )
              V.                            )     CRIMINAL INFORMATION
                                            )
LEONDAS PAUL III                            )

         The United States Attorney charges that at all relevant times:

                                         Introduction

         1.        Defendant Leondas P aul III (Paul) was an individual living in North

Carolina who owned and operated the Internet-based business LP3 H ealth.

         2.        Paul used the LP3 Health website, www.lp3health.com, to advertise and

sell a variety of FDA-regulated products to customers nationwide .

         3.        One of the products sold by Paul on the LP3 Health website was

Clenbuterol, a drug that was not approved by the FDA for any human use.1

         4.        Clenbuterol was marketed on Paul's LP3 H ealth website as a "powerful

and effective weight loss supplement that helps to burn fat and increase muscle

mass."        The website also stated that Clenbuterol would boost metabolism and

suppress appetite and was described as "e asy to use" and "convenient" for "those

looking to lose weight quickly and effectively."




1 The FDA has approved other drugs containing Clenbuterol for veterinary uses.




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                                   Manufacturing

      5.     In addition to operating LP3 Health, Paul was also employed as a

graphic designer at Copy Proz, a printing/copying business in Rockingham, North

Carolina. Paul used Copy Proz to operate his e-commerce website, including to

process orders, create and print labels for products, and prepare orders for shipment.

      6.     Paul used the United States.Postal Service (USPS) to ship his products

to customers across the country, including to individuals residing in the Eastern

District of North Carolina. Paul also shipped products through the Eastern District

of North Carolina to out-of-state customers.

      7.     Paul's employer at Copy Proz owned a second business, Madison James

Research (MJR), which operated from the office suite next to Copy Proz. This suite

was used to manufacture a variety of FDA-regulated products sold on the MJR

website, www .madisonjamesresearchchems.com. MJR supplied Paul with inventory

for his website, while Paul designed and created the labels used in the products'

packaging. All of the products sold on the LP3 Health website were mixed, bottled,

labeled, and packaged at the MJR office suite .

      8.     The MJR officers where the products, including LP3 Health's

Clenbuterol, were manufactured were not registered with the FDA as an

establishment    engaged    m   the     manufacturing,   preparation,    propagation,

compounding, or processing of drugs .




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                            FDA Regulatory Framework

      9.     The United States Food and Drug Administration (FDA) was the federal

agency charged with the responsibility of protecting the health and safety of the

public by enforcing the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 301 et seq.,

(FDCA). Among other responsibilities, the FDA enforced laws and regulations

regarding the manufacture and distribution of drugs, including prescription drugs,

shipped or received in interstate commerce, as well as the labeling of such drugs.

      10.    Under the FDCA, the term "drug" included any article and component

of any article "intended for use in the diagnosis, cure , mitigation, treatment, or

prevention of disease in man," or an "article (other than food) intended to affect the

structure or any function of the body of man." 21 U.S.C. § 321(g)(l)(B), (C) and (D).

      11.    Under the FDCA, every person who engaged in the manufacture,

preparation, propagation, compounding, or processing of a drug, was required to

immediately register with the FDA. 21 U.S.C. § 360(b)(l) & (c).

      12.    The terms "manufacture , preparation, propagation, compounding, or

processing" included repackaging or otherwise changing the container, wrapper, or

labeling of any drug package in furtherance of the distribution of the drug from the

original place of manufacture to the person who makes final delivery or sale to the

ultimate consumer or user. 21 U.S.C. § 360(a)(l).

      13.    The term "label" was defined as "a displayofwritten, printed,or graphic

matter upon the immediate container of any article." 21 U.S.C. § 321(k). The term


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"labeling," in turn, was defined as "all labels and other written, printed, or graphic

matter (1) upon any article or any of its containers or wrappers, or (2) accompanying

such article." 21 U.S.C. § 321(m).

      14.    The FDCA prohibited the introduction or delivery for introduction into

interstate commerce, or the causing thereof, of any drug that is misbranded. 21

U.S.C. § 331(a). Under the FDCA, a drug was misbranded if, among other things:

              a. it was manufactured, prepared, propagated, compounded, or

                 processed in an establishment in any State not duly registered with

                 FDA. 21 U.S.C. § 352(0); or

             b. it is in package form and does not bear a label containing the name

                 and place of business of the manufacturer, packer, or distributor. 21

                 U.S.C. § 352(b) and 21 C.F.R. § 201.l(i); or

             c. its labeling fails to bear adequate directions for use, under which a

                 layman can use a drug safely for the purposes for which it was

                 intended. 21 U.S.C. § 352(£)(1) and 21 C.F.R. § 201.5; or

              d. its labeling is false or misleading in any particular. 21 U.S.C.

                 § 352(a)(l).

                                      Website Sales

      15.    Beginning in or around October 2020 and continuing through

September 2023, Paul used the LP3 Health website to offer a variety of products for

sale that fall under the FDCA definition of "drug," including Clenbuterol.


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      16.    On or about August 9, 2023, an order was placed through the LP3

Health website for "Clenbuterol 250mcg x 30ml tincture." On or about August 10,

2023, the product was shipped via USPS from Rockingham, North Carolina,

processed through a USPS distribution center in Fayetteville, North Carolina, and

mailed in interstate commerce to an address in Miami, Florida.

      17.    The "Clenbuterol 250mcg x 30ml tincture " purchased from the LP3

Health website was received by the customer on or about August 18, 2023. The

Clenbuterol was in a small glass bottle , with a label branding the product as "MJR

Laboratories."   The labeled stated that the bottle contained "30ML" of liquid

Clenbuterol, with a dosing "Amount: lML." The label did not include the name and

place of business of the manufacturer, packer, or distributor.

      18.    Despite being marketed on the LP3 Health website as a "weight loss

supplement" for "those looking to lose weight quickly and effectively," the labeling

affixed to the Clenbuterol bottle read: "This is not a dietary supplement. For research

purposes only" and "For research use only. Not for human consumption." None of the

labeling for the Clenbuterol contained any directions for use.

                                   THE CHARGE

      19.    The preceding paragraphs of this Criminal Information are re -alleged

and incorporated herein by reference as factual allegations.

      20.    On or about August 10, 2023, in the Eastern District of North Carolina

and elsewhere, the defendant, LEONDAS PAUL III, with the intent to defraud and


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mislead, did deliver for introduction, and cause d the introduction and delivery for

introduction, into inter state commerce, a drug, n ame ly Clenbuterol, that was

misbranded in at least one of the following ways:

               a. The labeling was false or misleading in any particular. 21 U.S.C.

                  § 352(a)(l);

              b. The labeling failed to bear ade quate directions for use . 21 U .S. C.

                  § 352(f)(l);

              c. The drugs were in package form and did not bear a label containing

                  the name and place of business, including t he city and state and

                  country, of the manufacturer, packer, and distributor. 21 U.S.C.

                  §352(b); 21 C.F.R. § 201.l(i); and

              d. The     drug      was   not       manufactured,   prepared,   propagated,

                  compounded, and processed in an establishment duly registered

                  with the FDA as required by 21 U.S.C. § 360. 21 U .S. C. §352(0).

      All in violation of Title 21, United States Code, Sections 331(a) and 333(a)(2).


                                 FORFEITURE NOTICE

      Notice is her eby give n that all right , title and interest in the property described

herein is subject to forfeiture.

      Upon conviction of the offense charged in Count One, the defendant shall

forfeit to the United States, pursu ant to 21 U.S.C. § 334, and 28 U.S.C. § 2461, any

and all drugs that were misbranded wh en introduced into or while in interstate

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commerce or while held for sale (whether or not the first sale) after shipment in

interstate commerce, or which may not, under the provisionsof21 U.S.C. §§ 331, 352,

or 355, have been introduced into interstate commerce , including but not limited to

the following:

      Forfeiture Money Judgment:

             a) A sum of money representing the value of the adulterated or

                 misbranded drugs involved in the offense(s) charged herein against

                 LEONDAS PAUL III, in the amount of at least $12,600.00.

      If any of the above-described forfeitable property, as a result of any act or

omission of a defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty; it is the

intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property described above .


                                               MICHAEL F. EASLEY, JR
                                               United States Attorney


                                         BY:     't 'i_;J~ ~
                                               KAREN K. HAU    HTON
                                               Assistant United States Attorney



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